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FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUH -6 PH 3: 15

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CORPORATION,
Plaintiff,

v. No. 05-2365-B/P

BETHEL AME CHURCH, et al.,

Defendants.

 

ORDER GRANTING MOTION TO REMAND

 

Before the court is a pleading entitled "Motion for Withdrawal of Removal Notice" filed
by the Defendant, Bethel AME Church. According to the docket sheet, on May 16, 2005,
Bethel AME Church, through its counsel, filed a notice of removal of this lawsuit from the Iowa
District Court in and for Linn County [Iowa] to this Court. Apparently no Service has been
made against the Plaintiff of this notice of removal nor has any other action been taken relative
to the removal. Construing Defendant’s motion as a motion to remand, which inasmuch as no
other party has appeared or responded to the notice of removal, the Court will GRANT the

motion. ‘

 

l Based on a review of the pleadings accompanying the notice to remand, the Court would
have most likely dismissed the removal because it did not comply with 18 U.S.C. § 1446(a)
under which the removal was attemptedl §l446(a) only speaks to a removal from a State court
to a district Court of the United States "for the district and division within which such action
is pending. " Obviously, Linn County, Iowa is not located in the Western District of Tennessee.

This document entered on the docket sheet ln compliance

with ama 53 and/or 79(3) Facr= on Q "/"'6,/’;

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Accordingly, for the reasons stated herein, the Defendant’s motion for withdrawal of
removal notice, which the Court construes as a motion to remand, is GRANTED. This matter
is hereby remanded to the Iowa District Court in and for Linn County, Iowa.

IT IS SO ORDERED this day of June, 2005.

M

J. DANIEL BREEN \
U rr D sTATEs DIsTRIcT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02365 was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Sharon Modracek

Linn County Courthouse
Third Ave Bridge

P.O. Box 1468

Cedar Rapids7 IA 52406

Michael G. Floyd

FLOYD LAW FIRM
2129 Winchester Rd.
1\/1emphis7 TN 38116

Randall D. Armentrout
700 Walnut

Suite 1600

Des Moines, IA 50309

Benjamin P. Roach

Nyemaster, Goode, West, Hansell & O'Brien7 P.C.
700 Walnut

Suite 1600

Des Moines, IA 50309

Honorable J. Breen
US DISTRICT COURT

